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UCT - 6 2006
lN 'I`HE UNITED S'I`ATES DISTRICT COURT
W. onll\“l F()R THE NORTHERN DISTRICT DF ILLINOIS

NOEL PADILLA, SUCORR.O PADILLA,
LOURDES P'ADILLAj IRENE SANTIAGO_., and
ERLlNG JUHNSON,

Plainli ii`e,
v- 060\/5462

cITY <:)F cHICAGO, cHICAGC) POLICE J UDG E SHADUR
C)FFICERS KEiTH HERRERA, 3m #17239, MAG
_l _. JUDGE MASON

_¢{'\_f"\_f"\-F'\_¢'\-\"

STEVE DELBGSQUE, Sr.ar #15332

M, HC)PKrNS, em #5545, PAUL zeee, ')
arm #9345, OFFLCER MARKiEwlez Star #17092,)
and UNKNC)WN C.HICAGO POLICE OFFICERS, )

)
Dei"endante. ) JURY DEMAN DED

COMPLA[NT

NOW COMES the pleintif`fs, NOEL PADI]_,I_.A, SOCORRO FADILLA., LUURDES
PADII.¢LA, IRENF. SANTIAGO, and ERLING JOHNSON, through their attorneys, A LAW
OFFICE C)F CHRISTOPHE,R R. SMl'l`l‘l, Jared S. Kosogled and Christopher R. Smith, end fur
their Cei'nplainl against defendants CITY OF CHICAGG, CI-IICAGO FOLICE OFFICERS
KEITH HERERA, Star #1'7289, S"l"E\/E ]JELBOSQUE, Star #15332, M. HOPKINS, Ster
#5545, PAUL ZOGG, Sler #9345, end UFFICF.R MARKIEWICZ, Slar #`17()92, and
UNKNOWN CHICAGO POL£CE Ol"l"lCER.S, State as fellows:

INTRODUC'I`ION

1. Thie is a civil action Seeking damages for depriving pleintiff:;, While acting under color

 

 

 

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of law as Chicago Police Ol`iicials and City Officials., of rights secured by the Constit.ution and
laws of the United States, and t`or related State-law claims.
JURISDICTIUN

2, The jurisdiction of this Court is invoked pursuant to the Civil Right.s Act, 42 U.S.C., §
1983, and § 1985; thejudicial code 23 U.S.C._, § 1331 and 1343 (a]; the Constitution ofthc
l_lnited Statcs_; and pendent jurisdiction as provided under U.S.C., § 1367(&1). Plaintil`t` further
invokes the supplemental jurisdiction of this Court pursuant to 28 UtS.C. § 1367 to hear and
decide claims arising out of state law,

PARTIES

3. l;‘laintii`i`s are citizens ofthe Unitcd States Who currently reside in Chicago, Illinois.

4. Dcfcndants Chicago Police Otlicers Keith Herrera, Star #17289, Steve Delhosque,
Star #15332, M. Hopkins, Star #5545, Paul Zogg, Star #9345, and Officer l\/l:=).rl¢;ie'~)vi\'.:>c:l Star
#17'092, and l_lnknown Chicago Police Officers, collectively the “Ol`iicer Defendants,” were, at
the time ot` this oecurrence, duly licensed Cliicago Poliee Of‘ficers. They engaged in the conduct
complained of While on duty in the course and scope of their employment and under color cf law.
They are sued in their individual capacitiesl

5. Defcndant City of Cliieago, (“City") is a municipal corporation duly incorporated
under the laws ot` the State of lllinois, and is thc employer and principal of all other defendants
At all times relevant hereto, all defendants were acting under color of the statutes, ordinances,
regulations, customs and usages cf the State cf lllinois and the City rit`Chicage, and within the

scope of their employment With defendant institutions1

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FACTS

6. Cln Clctober 15, 2005, Noel Padilla entered onto the property of his friend Rayrnond
Alvarado on Keeler Avenue, C.hicago, IL. C)ffieers called out to Noel., “lley you! Come herel"
An officer entered the gate and asked Noel for identificationl

7. Noel reached out to hand the officer his identification The officer grasped Noel’s
wrist and pulled him down several stairs. The officer secured Nocl into handcuffs and placed
him in the rear of an unmarked squad car.

S. foicers entered Raymond’s house and searched for approximately one-half hour.

ll Ot`ticers drove Noel into an alley, and Offieer Hcrrera demanded that Noel supply
the officers With drugs or guns. Offieer Herrcra showed Noel a gun and claimed they found the
gun in R.aymond`s house. Noel could not comply with the officers’ demands, and officers
proceeded to the address provided by Noel, on N. Franciseo, Chicago, lL.

1(). The officers arrived at the address on N. Franciseo, Chicago, IL, the home of
Erling Johnson, irene Santiago_, and Noel Padilla. Officers asked lrene if they could come inside
and look around for Padilla’s things. lrene asked the officers for some paperwork that Weuld
permit entry, and the officers reforted that her refusal to consent to the search Would indicate she
had something to hide. Irene attempted to show officers Noel's helongings, but the officers
began searching around the entire residence

l l| . Ofticer Herrera turned on the bedroom ii ght, and trene remarked that her son was
sleeping. Officers looked around some more and left.

12. Noel asked the officers if they would let him go because they could not find

 

 

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th

anything Officers ignored Nocl. Officcrs proceeded to Noel"s mother*s home on Wcst 35
Street. Once thcre, Noel directed the officers to Dan Nclson"s apartment instead of his mother"s
apartment Dan Nelson directed the officers to the proper address; officers followed Dan
Nelson’s directions to the home of Socorro Padilla and Lourdes Padilla.

13. Officcrs told Socorro that Nocl had violated his probation and needed to sec
evidence that Noel lived there. Secorro told the officers that Noel did not live there. Officers
n explained that they needed to see any clothes ofNoel’s. Soeorro attempted to show the officers
Noel’s clothing, since the officers led her to believe that she would help her son.

14. Once inside, officers began to search the whole apartment Officers searched
many private areas of Socorro’s home. Lourdes Padilla requested that the officers cease
searching her bedroom Officers found nothing and left.

15. Officers transported Noel to the police station at Grand and Central, Chieago, li_.,
asking Noel who is going to “take the weight” for this, Raymond or himself. Noel stopped
answering the officers’ questions

16. Officers charged Noel With delivery of a controlled substance, in violation of
C.`hapter 720 Act 570 Section 401 (a}(Z)(`b).

ll 'i'. Noel entered custody on October 15, 2005 and remained at Cook County .lail until
July 17, 2006, on which date Noel was given an I-hond. Noel missed the first year of his son’s
life.

18. On September 15, 2006, the state dismissed the charges against Noel Padilla by

nolle prosequi, indicative of the innocence of Noel Padilla.

 

 

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19. The Officer Defendants and Unknown Chicago Police Ufiicers conspired and agreed
amongst themselves to falsely charge Noel Padilla With crimes the officers knew he did not
commit and to search the private residence of Socorro Padilla, Lourdes Padilla, Erling .Iohnson,
Irene Santiago, and Noel Padilla in knowing violation of the plaintiffs’ civil rights In
furtherance of this conspiracy, defendant officers filled out and filed false and incomplete police
reports relative to the arrest and searchcs.

20. As a direct and proximate result of the malicious actions of the coconspirators
plaintifth were injuredj including the loss of their freedom, damage to their reputation, damage to
their prcperty, humiliation, pain, suffering, the deprivation of their constitutional rights and their
dignity, lost time_, Wages, attorney’s fees, and extreme emotional distress. As a direct and
proximate result of the false arrests, illegal searches, and other egregious conduct inflicted by
defendant ol"iieers, Noel Padilla suffered severe and permanent injuries,l acute pain and suffering
panic attacks, anxiety attacks, a loss of a relationship with his child, and a loss cfa normal life.

Count I
42 lU.f~i.C. Section 1985 Conspiracy Claim

1-20. Plaintiffs reallegc paragraphs 1 through 20 above, as if fully set forth hcre.

21, Detendants, acting together and under color of law, reached an understanding and
agreement, engaged in a course of conduct and otherwise conspired among and between
themselves to deprive Noel Padilla, Secorro Padilla, Lourdes Padilla, Irene Santiago, and Erling
Johnson of their Constitutional rights, including the 4']‘ Amendment right to be free from

unreasonable search, arrest, detention, and to be free of`the use cf unreasonable and excessive

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force, and the 14111 Amcndmcnt right to the equal protection of the laws, in violation of Plaintiffs’
constitutional rights and 42 U,S.C. 1985.

22_ Said conspiracy or conspiracies and overt acts commenced on t]ctober 15, 2005
and continued through the date of this filing, and caused said violations and said injuries, pain
and suffering, mental anguish, loss of freedom, and permanent injury, as more fully set forth
above.

WHEREFORE, pursuant to 42 U.S.C. Section 1985, Nocl Padilla, Soeorro Padilla,
hourch Fadilla, Irene Santiago, and Erling .lohnson demand judgment against the individual
dcfcndants, jointly and severally, for compensatory damages against defendants officers in an

amount in excess of FOUR MILLTON DOLLARS {$4,000_,000.00), and because these defendants

acted maliciously, wantonly, or oppressively, punitive damages in an amount in excess of FOUR

MILLION ($4,000,000.00), plus the costs of this action and attorney’s fees, and such other and
additional relief as this court deems equitable and just.

Count Il

 

42 U.S.C. Section 1983 _ False lmprisonment

1-20. Plaintiffs rcallege paragraphs 1 through 20 above, as if fully set forth here.

21. The actions cfthe Officcr Defcndants, described above, whereby defendants
knowingly arrested and imprisoned Noel Padilla without probable cause or any other
justification, constituted deliberate indifference to plaintiffs’ rights under the U.S. Constitution,
thus violating the l"`ourtccnth and Eighth Amendments to thc United States Constitution.

22. As a direct and proximate result of these Constitutional violations, Noel Padilla

 

 

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was caused to suffer great pain, anguish, dcspair, and other permanent and temporary mental
suffering

Wl-lEREFURE, Noel Padilla demands judgment against the individual defendants, jointly
and severally, for compensatory damages in an amount in excess of FOUR MILLION
DOLLARS ($4,000,000.00) and further demands judgment against the individual dcfendants_, _
jointly and severally, for punitive damages in an amount in excess of FOUR MlLLION
DOLLARS (_$4,000,000.00), plus attorney’s fees pursuant to statute and the costs of this action_,
and such other and further relief as this Court deems just, prcper, and equitable

Count IH
42 U.S.C. Section 1983 -~ Excessive Force

l-20. Plaintiffs reallegc paragraphs 1 through 20 abovc, as if fully set forth here.

21. The actions of the Officer Defendants, and Unknown Chicago Police Of`ficcrs,
constituted unreasonable1 unjustifiable, and excessive force against Noel Padilla, thus violating
his rights under the Fourth Amendment to the United States Constitution, and 42 U.SiC., Section
1983.

22. As a proximate result cfthe above-detailed actions ofdefendants, Noel Fadilla
Was injurcd, including his severe and permanent pain, mental suffering, anguish and humiliation,
panic and anxiety attacks, and fear.

WHEREI"ORE, pursuant to 42 LJ.S.C. Section 1983, Noel Padilla demands judgment
against thc individual defendants, jointly and severally, for compensatory damages against thc

Officer Defendants in an amount in excess of l`iOUR MlLLlON DGLLARS ($4,000,000.00), and

 

 

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because these defendants acted maliciously, wantonly, or oppressively, punitive damages in an
amount in excess of FOUR MILLION DC)LLARS (_$4,000,000.00), plus the costs ofthis action
and attorney’s tees, and such other and additional relief as this court deems equitable and just.
Count IV
42 U.S.C. Section 1983 Feurth Amendment Violations »- lllegal Seareh and Seizures

1-20¢ Plaintiffs reallegc paragraphs 1 through 20 above, as if fully set forth here.

21. The searches and seizures of I'~locl Padilla, Socorro Padilla, I_curdes Padilla, Irene
Santiago, and Erling Johnsen’s persons, homes, and property as detailed above_, performed
willfi.rlly and wantonly by thcdcfendants, individually and in conspiracy with each other, were in
violation of Noel Padilla, Socorro Padilla, l_,ourdes Padilla., lrene Santiago, and l:`,rling Johnson’s
right to be free of unreasonable searches and seizures under the Fourth Amendment to the
Constitution of the linited States and 42 U.S.C. Section 1983.

22. As a proximate result of the above-detailed actions of defendants, plaintiffs were
injured, including the deprivation of their liberty and the taking of their property. ln addition, the
violations proximately caused the plaintiffs great mental anguish and humiliation, exposed them
to public scandal and disgrace, caused damage to their property_, and caused them to incur various
expenses, all to their damagel

WHEREF(JRE, pursuant to 42 U.S.C. Section 1983, Plaintiffs demand judgment against
the Officer Defendants, and other turknown Chicago Policc Offiecrs, jointly and severally, for
compensatory damages against defendants officers in an amount in excess of FOUR MILLION

DOLLARS ($4,000,000.00), and because these defendants acted maliciously, wantonly, or

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oppressively, punitive damages in an amount in excess ofFOUR MILLIUN DOLLARS
($5,000,000.00), plus the costs of this action and attorney’s fees_, and such other and additional
relief as this court deems equitable and just,
Count V
42 U.S.C. Sectinn 1983 - Manell Claim Against City of Chicago

1-20. Plaintiffs rcallcge paragraphs 1 through 20 above, as if` fully set forth here.

21. The constitutional violations detailed above were caused in part by the customs,
policies, and practices of the defendants, as promulgated, enforced, and disseminated by the City
of Chicago, the Mayor ofChicago, the C'ity Council, members ofthe City t'j.ouncil_1 the aldermen,
the Chicago Policc Department_, thc Chicago Policc Board, members of the Chicago Policc
Board, the Office of Professional Standards, and Superintendent Cline, whereby those charged
with ensuring compliance with the Constitution of the United States, in this case and many other
cases, instead deli`beratcly, willfully, and wantonly encouraged the infliction of physical and
psychological intimidation onto the citizens of the City of Chicago in violation of the United
Statcs Constitution.

22. The customs, policies, and practices that caused the constitutional violations herein
alleged include:

(a) excessive force by Chicago Policc Officers;

(b) thc denial of substantive due process, abuse of legal process, malicious prosecution,

and filing of false charges against innocent persons by Chicago Policc Officers;

(c) mental abusc_, oral abuse, and oral assaults by Chicago Policc Officers;

 

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(d) the filing of false and incomplete police reports to hide criminal and unconstitutional

conduct by ot`ficers;

(e) the filing of false charges and the pursuit of baseless prosecutions in order to protect
police officers from claims of improper conduct and to avoid liability;

(f) a code of silence whereby officers refuse to report the unconstitutional and criminal
misconduct of other officers, including the unconstitutional and criminal conduct

alleged in this Complaint;

 

(g) a code of silence whereby officers remain silent or give false and misleading
information during official investigations to cover up unconstitutional and criminal
misconduct, to protect themselves, and to protect other officers;

(h) the willful, wanton, and deliberately indifferent failure to train, supervise, and
discipline police officers in regards to unconstitutional and criminal misconduct;

(i) the willful, wanton, and deliberately indifferent failure to train, supervisc, and
discipline police officers in order to prevent unconstitutional and criminal misconduct
by police officers

(j) the failure to adequately investigate and substantiate allegations of unconstitutional
and criminal misconduct by police officers;

(k) the failure to adequately discipline police officers that engage in unconstitutional and
criminal misconduet;

(l) the encouragement and propagation of the misconduct complained ofin subparagraphs

(a)-(k) by stamping official approval on officers" unconstitutional and criminal

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misconduct through the Office of Professional Standards;

(m) thc approval, support, and encouragement of unconstitutional and criminal
misconduct by police officers to avoid financial loss_;

(n) and the failure to deter police officers firom engaging in unconstitutional and criminal
misconduct through deficient, defectivc, and ineffectual investigatory and disciplinary
procedures, as promulgated by the foice ofi’rofessional Standards.

23. The policies, practices, and customs herein complained of are so prevalent and
widespread within the Chicago l'-'olice Department as to put City of Chicago policy makers on
actual and implied notice that such policies existed in full force and effect

24. City of Chicago policy makers acted willfully, wantonly, and deliberately indifferent
towards the constitutional rights of`plaintiffs by accepting monitoring, maintaining, protecting,
and encouraging the unconstitutional policies, practices, and customs listed in paragraph 22 of
this Complaint.

25. By acting willfully, wantonly, and deliberately indifferent towards the constitutional
rights of plaintiffs, City of Chicago policy makers approved, encouraged, and caused the
constitutional violations alleged in this Complaint.

26. As a proximate result of the above-detailed actions of the defendants and City of
Chicage policy makers_, plaintiffs were injured, including injuries resultant from the above
detailed constitutional violations, pain, suffering, anguish, embarrassment, emotional injurics,
mental injuries, psychological injuries, and physical injuries. ln addition, the violations

proximately caused the plaintiffs great humiliation, exposed them to public scandal and disgrace,

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and caused them to incur various expenses, all to their damage

WHERFORE, plaintiffs demand judgment against the defendants for compensatory
damages in an amount in excess ofFOl_lR MlLLlON ($4,000,000.00), plus attorney’s fees
pursuant to statute and the costs of this action, and such other and firrther relief as this Court
deems just, propcr, and equitable

Count VI
745 ILCS 10/9-102

1-20. Plaintiffs reallegc paragraphs 1 through 20 above, as if fully set forth here.

21. Defendant City of Chicago is the employer of all police officer defendants

22. The Officcr Dcfcndants committed the acts alleged above under color of law and
in the scope of their employment as employees of the City of Chicago.

WHEREFORE, should any of the individual officers bc found liable on one or more of
the claims set forth above, Plaintiffs demand that, pursuant to 745 ILCS 10/9-102, the Defendant
City of Chicago be found liable for any judgment plaintiffs obtain_against said defendants, as
well as attorneys fees and costs awarded.

Count VII
Malicious Presecution _ State Clairn Against City and Offieers

1-20. Plaintiffs reallegc paragraphs l through 20 above, as if fully set forth here.

2l. fly the actions detailed above, and by participating in the above-described
eonspiracy, the individual defendants knowingly sought to and did in fact maliciously prosecute

plaintiff Noel Padilla on false charges for which they knew there was no probable causc.

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22. The City is sued in this Count pursuant to the doctrine of respondeat superior, in
that defendant officers performed the actions complained of while on duty and in the employ of
defendant City, and while acting within the scope of this employment

23. As a direct and proximate result ofthe malicious prosecution, Noel Padilla was
damaged_, including the value of his lost liberty, attomeys’ fees, lost work, exposure to public
scandal and disgrace, damage to his reputation1 mental and emotional suffering, humiliation,
anguish, the loss of a relationship with his child, and the loss of a normal life.

Wl~lEREliORE, Noel Padilla demands judgment against the City and the individual
defendants, jointly and severally, for compensatory damages in an amount in excess of FOUR
MILLION DOLLARS (85,000_,000.00), and further demand judgment against the individual
rlefendants, jointly and severally, for punitive damages in an amount in excess of FC)UR
MILLION ($4,000,000.00), and further demand attomey’s fees and the costs of this a.ction, and
for such other and tirrther relief as this Court deems just, pro'pcr, and equitable

Count Vlll
lntentional Infliction of Emotional Distress Agairrst City and Ofi”lcer's

1-20. Plaintiffs reallegc paragraphs l through 20 above, as if fully set forth here.

21. The above-detailed conduct by the defendants was extreme and outrageous,
exceeding all bounds of human decency.

22. Dcfcndants performed the acts detailed above with the intent of inflicting severe
emotional distress on plaintiffs or with knowledge of the high probability that the conduct would

cause such distress.

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23. As a direct and proximate result of` this conduct, plaintiffs did in fact suffer severe
emotional distress, resulting in injury to their rninds, bodies, and nervous systems, including loss
ofsleep, mental anguish, nightmarcs, anxiety attacks, stress disorder's, phobias, and flashbacks.

24. As of the filing of this Complaint, plaintiffs continue to suffer from the above
described injuries caused by the extreme and outrageous conduct of the defendants

25. The City is sued in this Count pursuant to the doctrine of respondeat superior, in
that defendant officers performed the actions complained of while on duty and in the employ of
defendant City, and while acting within the scope of this employment

WHEREFORE, Plaintiffs demand judgment against the City and the individual
defendants_, jointly and severally, for compensatory damages in an amount in excess ofFOUR
MILLION DOLLARS ($4,000,000.00), and further demand judgment against the individual
defendants, jointly and severally, for punitive damages in an amount in excess ofF[)UR
MILLTON DOIJIJA.RS ($4,000,000.00), and further demand attorney’s fees and the costs of this

action, and for such other and further relief as this Court deems just, proper, and equitable

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Respectfully submitted,

NOEL PADILLA, SOCORRG PADILLA,
LOURDES PADILLA, IRENE SANTIAGO, and
ER\LING JOHNSON

t:--Ey: One o§_§gir attorn§s

PLATNTTFF DEMANDS TRIAL BY JURY.

Jared S. Kosoglad

Christopher R. Smith

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